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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                FRANKFORT DIVISION

IN RE:

DEREK SEAN MEACHAM                                                  CASE NO. 19-30282-GRS-13
AND
STEPHANIE ANNE MEACHAM

   Debtors

                                 CERTIFICATE OF SERVICE

       This is to certify that a true and accurate copy of the foregoing was served on debtors,

counsel for debtors, the trustee and other parties in interest, by either ordinary U.S. Mail, postage

pre-paid, or via electronic filing on this 9th day of February 2021.


Derek Sean Meacham                                    John C. Robinson
217 Rolling Ridge Way                                 ROBINSON SALYERS, PLLC
Simpsonville, KY 40067                                909 Main Street
Debtor                                                Shelbyville, KY 40065
                                                      Counsel for Debtors
Stephanie Anne Meacham
217 Rolling Ridge Way                                 Trustee
Simpsonville, KY 40067                                Beverly M. Burden
Debtor                                                PO Box 2204
                                                      Lexington, KY 40588

                                                      U.S. Trustee
                                                      U.S. Trustee
                                                      100 E Vine St #500
                                                      Lexington, KY 40507

                                              /s/ Christopher M. Hill
                                              Christopher M. Hill
                                              Christopher M. Hill & Associates, LLC
                                              P.O. Box 817
                                              Frankfort, KY 40602
                                              502-226-6100/telephone
                                              502-223-0700/facsimile
                                              chrish@hillslaw.com
                                              Counsel for Plant Home Lending, LLC


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